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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                        ABINGDON DIVISION

UNITED STATES OF AMERICA )
                         )
                         )                   Case No. 1:11CR0026-4
                         )
v.                       )                         OPINION
                         )
DAMON DOCK, JR.,         )                   By: James P. Jones
                         )                   United States District Judge
           Defendant.    )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia for
United States; Damon Dock, Jr., Pro Se Defendant.

      The defendant, Damon Dock, Jr. (“Dock”), proceeding pro se, filed a

Motion to Vacate, Set Aside, or Correct Sentence, pursuant to 28 U.S.C. § 2255.

This matter is before me upon the United States’ Motion to Dismiss, and Dock has

responded, making the matter ripe for disposition. After reviewing the record, I

will grant the United States’ Motion to Dismiss and dismiss the Motion to Vacate,

Set Aside, or Correct Sentence.

                                        I.

      Dock and five codefendants were charged in a multi-count Superseding

Indictment. Count Two charged Dock with conspiracy to possess with the intent to

distribute five kilograms or more of cocaine base, in violation of 21 U.S.C. §§ 846

and 841(b)(1)(A). Dock pleaded not guilty and a jury found him guilty of Count
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Two. On July 17, 2012, I sentenced Dock to 240 months imprisonment. 1 Dock

appealed to the United States Court of Appeals for the Fourth Circuit, which

affirmed his conviction. United States v. Dock, 541 F. App’x 242, 247 (4th Cir.

2013) (unpublished).

       The evidence at trial was as follows. From the end of 2010 until May 2011,

Dock’s father, Damon Dock, Sr. (“Senior”) distributed between 840 grams and 2.8

kilograms of cocaine base (“crack cocaine”). As payment, codefendant Chris

Berry gave Senior stolen property that Senior’s girlfriend, codefendant Hope

Leonard, then sold. On multiple occasions during the conspiracy, Dock traveled

with Senior and Leonard to meet Senior’s drug supplier, Chris Avery, in Johnson

City, Tennessee.       They would then transport the crack cocaine to Senior’s

residences in Tennessee and Virginia.

       At trial, Berry testified that he and his girlfriend, codefendant Amy Moser,

obtained various amount of crack cocaine from Senior “almost on a daily basis”

from the end of 2010 until May 2011. (Trial Tr. at 15, ECF No. 235.) Berry

testified that Dock also transported crack cocaine he obtained from Avery to

Senior’s residences in Bristol, Tennessee, and Bristol, Virginia. (Id. at 23-24.)



       1
         The Presentence Investigation Report (“PSR”) recommended a total offense level of 34
and a criminal history category of II, with a guideline imprisonment range of 168 to 210 months.
(PSR at 10, ECF No. 248). However, the minimum term of imprisonment for Count Two was 20
years; thus, the guideline term of imprisonment was 240 months. (Id.)


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      On May 19, 2011, Dock and codefendants Berry, Moser, Leonard, and

Senior checked into a hotel in Bristol, Tennessee, and spent the day smoking crack

cocaine.   However, the United States Marshals Service had been conducting

surveillance on the hotel room and had an arrest warrant for Berry. The officers

identified Berry, entered the room, and arrested Dock, Berry, Moser, and Senior.2

The officers found digital scales, drug paraphernalia, a Beretta handgun,

prescription medication, and 5.7 grams of crack cocaine in the room.

      In his § 2255 motion, Dock alleges that counsel provided ineffective

assistance by failing to present exculpatory evidence at trial consisting of

statements made by codefendant Avery to the government.

                                           II.

      To establish a claim of ineffective assistance of counsel, petitioner must

satisfy the two-pronged test set forth in Strickland v. Washington, 466 U.S. 668,

671 (1984).3 The first prong of Strickland requires a petitioner to show “that

counsel made errors so serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment,” meaning that counsel’s

representation fell below an objective standard of reasonableness. Id. at 687-88.

Courts apply a strong presumption that counsel’s performance was within the
      2
         Senior had sent Leonard to deliver crack cocaine to one of his customers, and
thus she was not present when the Marshals entered the room.
      3
         If a petitioner has not satisfied one prong of the test, a court does not need to
inquire whether he has satisfied the other prong. Id. at 697.
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range of reasonable professional assistance. Id. at 689; see also Fields v. Att’y

Gen. of Md., 956 F.2d 1290, 1297-99 (4th Cir. 1992); Hutchins v. Garrison, 724

F.2d 1425, 1430-31 (4th Cir. 1983).

      The second prong of Strickland requires a petitioner to show that counsel’s

deficient performance prejudiced him by demonstrating a “reasonable probability

that, but for counsel’s unprofessional errors, the result of the proceeding would

have been different.” Strickland, 466 U.S. at 694. “A reasonable probability is a

probability sufficient to undermine confidence in the outcome.” Id.

                                           III.

      Dock claims that counsel provided ineffective assistance by failing to

present “exculpatory evidence in the form of Brady material.” (Mem. in Supp. of

Mot. to Vacate at 4, ECF No. 417-2.) In support, Dock states that codefendant

Avery made certain exculpatory statements to the government during a debriefing

and, pursuant to its obligations under Brady v. Maryland, 373 U.S. 83 (1963), the

government then hand-delivered to counsel at trial a letter dated April 26, 2012

(“Brady letter”) that stated, in pertinent part:

      Mr. Avery stated that [Dock] had never met him at a hotel in order to
      pick- up crack cocaine on behalf of [Senior]. Mr. Avery also stated
      that he had had little interaction with [Dock] until they were
      incarcerated.

(Brady Letter Ex. 1 to Mem. in Supp. of Mot. to Vacate, ECF No. 417-1.) Dock

argues that this statement was a “dire[c]t contradiction of the testimonies made by

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the prosecution[’]s only witnesses against [him], namely, Amy Moser and Chris

Berry.” 4 (Mem. in Supp. of Mot. to Vacate at 4, ECF No. 417-2.)

      Contrary to Dock’s claims, counsel did attempt to present evidence

regarding Avery’s exculpatory statements. Counsel attempted to call Avery as a

witness at trial and compel his testimony.          (Trial Tr. at 16, ECF No. 344.)

However, Avery had decided to invoke his Fifth Amendment right against self-

incrimination if called to testify. (Id.) Counsel asked the court to compel Avery’s

testimony; however, the court denied counsel’s request. (Id.)

      In light of Avery’s invocation of his Fifth Amendment right and resulting

unavailability as a witness, Dock claims counsel should have attempted to

introduce the Brady letter into evidence. See United States v. MacCloskey, 682

F.2d 468, 477 (4th Cir. 1982) (“The law is clear that a witness is unavailable under

Rule 804(a)(1) when he invokes the Fifth Amendment privilege and the claim is

sustained by the trial court.”) However, this claim lacks merit because the letter

was hearsay and Dock fails to present any hearsay exception under which the letter

would have been admissible.5 See Sharpe v. Bell, 593 F.3d 372, 383 (4th Cir.

2010) (the Sixth Amendment does not require counsel to raise a meritless
      4
         At trial, Berry testified that Dock met Avery at a Motel Six, behind a Pizza Hut,
and at a mall parking lot to pick up crack cocaine. (Trial Tr. at 23-24, ECF No. 235.)
      5
         Instead, Dock argues that the Brady letter is not hearsay under Federal Rule of
Evidence 801(d)(2)(B) and (C). (Reply to Mot. to Dismiss at 3, ECF No. 441.)
However, this argument fails because the Brady letter would not have been “offered
against an opposing party,” as required by that rule.
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argument).      Hearsay is defined as a statement, other than one made by the

declarant while testifying at the trial or hearing, offered in evidence “to prove the

truth of the matter asserted.” Fed. R. Evid. 801(c).

      Moreover, the Brady letter does not fall under any of the exceptions to the

rule against hearsay that apply when the declarant is unavailable as a witness, as

set out in Federal Rule of Evidence 804(b).                The Supreme Court held in

Williamson v. United States, 512 U.S. 594, 599, 604 (1994), that Rule 804(b)(3)

allows only for the admission of the self-inculpatory portions of a hearsay

statement.6      “Rule 804(b)(3) is founded on the commonsense notion that

reasonable people, even reasonable people who are not especially honest, tend not

to make self-inculpatory statements unless they believe them to be true.” Id. at

599. However, this justification underlying the hearsay exception does not extend



      6
          Rule 804(b)(3) defines a statement against interest as:

      A statement that:

               (A)    a reasonable person in the declarant’s position would
               have made only if the person believed it to be true because,
               when made, it was so contrary to the declarant’s proprietary
               or pecuniary interest or had so great a tendency to invalidate
               the declarant’s claim against someone else or to expose the
               declarant to civil or criminal liability; and

               (B)    is supported by corroborating circumstances that
               clearly indicate its trustworthiness, if it is offered in a
               criminal case as one that tends to expose the declarant to
               criminal liability.
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to statements concerning the roles of other individuals in the alleged crime. Id. at

599-600. Therefore, Avery’s declaration that Dock had never met him at a hotel to

pick up crack cocaine could not have been admitted under Rule 804. Further, there

is no evidence that Avery’s statements in the Brady letter were “supported by

corroborating circumstances that clearly indicate its trustworthiness” as required by

Rule 804(b)(3)(B). See United States v. Milikowsky, 896 F. Supp. 1285, 1304 (D.

Conn. 1994) (refusing to admit a Brady letter and noting that a rule that “with each

Brady disclosure — particularly those for which no independent documentary

evidence exists — prosecutors would, in effect, be stipulating to the introduction of

that disclosure into evidence” which “might well dissuade prosecutors from erring

on the side of liberal disclosure, to the ultimate detriment of criminal defendants”).

Because Dock has not established that a motion to admit the Brady letter would

have been successful, Dock has failed to plausibly allege deficient performance.

See Strickland, 466 U.S. at 687-91. Furthermore, Dock has not shown prejudice

because he has not shown that the Brady letter, if admitted into evidence, would

have changed the outcome of his case. Accordingly, this claim will be dismissed.

                                         IV.

      For the foregoing reasons, I will grant the United States’ Motion to Dismiss

and dismiss the Motion to Vacate, Set Aside, or Correct Sentence. A separate

Order will be entered herewith.


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                                           DATED: July 27, 2015

                                           /s/ James P. Jones
                                           United States District Judge




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